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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                          Criminal No. 20-291 (DSD/DTS)

 UNITED STATES OF AMERICA,

                      Plaintiff,
        v.
                                           TRIAL BRIEF AND MOTIONS IN
                                           LIMINE OF THE UNITED STATES
 1. GREGORY CARL KOCH and
 2. JEROME DAVID KANGAS,

                      Defendants.

       The United States of America, by and through its attorneys, Andrew M. Luger,

United States Attorney for the District of Minnesota, and Michelle E. Jones and Robert M.

Lewis, Assistant United States Attorneys, submits its trial brief in this matter. This

memorandum includes a summary of the facts the government expects the evidence to

establish at trial along with briefing addressing the government’s motions in limine and

other potential evidentiary matters.

                                       BACKGROUND

       Over a five-year period, defendants Gregory Carl Koch (“Koch”) and Jerome David

Kangas (“Kangas”) defrauded their employer, Victim Company, out of more than

$500,000. As the manager of Continuous Positive Airway Pressure (“CPAP”) clinicians

and Kangas’s supervisor, Koch used his position to approve and enter hours into the Victim

Company’s time management system that he knew that Kangas, a “casual” CPAP clinician,

did not work. Koch also allocated substantial overtime pay to Kangas to increase Kangas’s

wages during the scheme. For his part, Kangas received and cashed bi-monthly payroll

checks from Victim Company despite knowing that he did not perform work
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commensurate with the pay he received from Victim Company. Koch and Kangas also

shared the proceeds of their fraud scheme. To conceal their sharing of fraud proceeds and

the source of those funds, the defendants made various cash withdrawals from, and deposits

into, their respective bank accounts. Kangas also structured cash transactions to evade the

filing of currency transaction reports by his bank.

I.     The Charges

       The Superseding Indictment charges the defendants with five counts of aiding and

abetting mail fraud, in violation of 18 U.S.C. §§ 2 and 1341, and one count of conspiracy

to commit mail fraud and currency structuring, in violation of 18 U.S.C. § 371. Jerome

Kangas is charged with an additional count of currency structuring, in violation of 18

U.S.C. § 5324.

       The five mail fraud counts allege that as part of the scheme to defraud, Koch and

Kangas caused the Victim Company to issue payroll checks to Kangas by U.S. mail on

certain days despite being aware that Kangas was being paid for work he did not perform.

Specifically, Count One charges that on or about March 18, 2016, Koch and Kangas caused

the victim company to send a payroll check in the amount of $2,254.96 to Kangas via the

U.S. Postal Service. Id. ¶ 13. Count Two alleges that on or about November 25, 2016,

Koch and Kangas caused Victim Company to send a payroll check in the amount of

$2,254.96 to Kangas via the U.S. Postal Service. Id. Count Three charges that on or about

September 1, 2017, Koch and Kangas caused Victim Company to send a payroll check in

the amount of $1,849.61 to Kangas via the U.S. Postal Service. Id. Count Four charges

that on or about February 16, 2018, Koch and Kangas caused the Victim Company to send

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a payroll check in the amount of $2,453.44 to Kangas via the U.S. Postal Service. Id. Count

Five charges that on or about April 27, 2018, Koch and Kangas caused the Victim

Company to send a payroll check in the amount of $2,414.25 to Kangas via the U.S. Postal

Service. Id.

      Count Six charges the defendants with conspiring to commit mail fraud and

currency structuring in order to defraud the Victim Company by causing the company to

pay Kangas for work that he did not perform and by sharing the proceeds of the fraud. Id.

¶¶ 15, 16. The manner and means of the conspiracy include:

      (1)      Koch approved the payment of wages to Kangas despite knowing that

Kangas was not performing work commensurate with the compensation paid to him;

      (2)      Koch submitted annual performance reviews reflecting that Kangas was

performing his work in a satisfactory manner despite Koch’s awareness that Kangas was

not performing work commensurate with the wages Kangas was paid;

      (3)      Koch logged into the Victim Company’s computer network periodically

using Kangas’s credentials to make it appear that Kangas was performing job duties for

Victim Company;

      (4)      Koch allocated and approved overtime pay to Kangas which allowed Kangas

to receive increased payments from Victim Company;

      (5)      Koch assisted Kangas in resetting his login credentials to avoid discovery of

the scheme; and

      (6)      Kangas shared proceeds of the scheme with Koch.



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       The indictment also sets forth numerous overt acts Koch and Kangas committed in

furtherance of the conspiracy. They include:

       (a) Kangas deposited various checks into his Wells Fargo Bank account and made

several cash withdrawals of roughly $5,000 on several dates between late-July 2017 and

mid-August 2017 totaling $30,500;

       (b) On August 14, 2017, four days after Kangas’s last $5,000 cash withdrawal, Koch

deposited $29,300 into his US Bank account then sent $26,000 to TD Ameritrade to open

an investment account;

       (c) On September 1, 2017, February 16, 2018 and April 27, 2018, Koch caused

payroll checks to be mailed to Kangas by the Victim Company;

       (d) On March 20, 2018, Koch prepared an annual performance review for Kangas;

       (e) On June 6, 2018, Koch and Kangas communicated with an employee of Victim

Company in order to restore Kangas’s access the Victim Company’s network; and

       (f) On June 15, 2018 Koch signed and submitted a resignation letter to Victim

Company on Kangas’s behalf.

       Finally, Count Seven of the Superseding Indictment charges Jerome Kangas with

knowingly structuring currency transactions to evade the reporting requirements of 31

U.S.C. § 5313(a). In conjunction with regulations located at 31 C.F.R. § 1010 et seq.,

Section 5313(a) requires domestic financial institutions to report currency transactions in

excess of $10,000 and record certain information relating to those transactions, including

the name and address of the individual presenting the transaction. See 31 U.S.C. § 5313(a);

31 C.F.R. § 1010.310-314.      Specifically, Section 1010.314 proscribes structuring or

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attempting to structure a transaction with a domestic financial institution in order to evade

the filing of a currency transaction report (“CTR”) as required by § 5313(a).           The

Superseding Indictment alleges that on July 28, August 1, and August 5, 2017 Kangas

made cash withdrawals in the amount of $5,000 from his account at Wells Fargo Bank.

Superseding Indictment ¶ 21. On both August 1 and August 7, 2017, Kangas received an

additional $5,000 in cash after depositing checks on those dates. Id. Finally, on August

10, 2017, Kangas withdrew $5,500 from his Wells Fargo Bank account. Id. Count Seven

alleges that Kangas made each of these transactions knowingly and for the purpose of

causing Wells Fargo Bank to fail to file a CTR.

II.    Elements of the Charged Offenses

       A.     Mail Fraud

       Counts 1 through 5 charge the defendants with aiding and abetting mail fraud in

violation of 18 U.S.C. § 1341. The crime of mail fraud has three elements, which are:

       One, the defendant voluntarily and intentionally devised or participated in a scheme

and artifice to defraud or to obtain money, property or property rights by means of material

false representations or promises;

       Two, the defendant did so with the intent to defraud; and

       Three, the defendant used, or caused to be used, the mail in furtherance of, or in an

attempt to carry out, some essential step in the scheme.




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       B.     Conspiracy

       Count 6 charges the defendants with conspiracy to commit mail fraud and currency

structuring. The crime of conspiracy to commit mail fraud or currency structuring has four

essential elements:

       One, the defendants reached an agreement to commit the crime of mail fraud or

currency structuring;

       Two, the defendant voluntarily and intentionally joined in the agreement, either at

the time it was first reached or at some later time while it was still in effect;

       Three, at the time the defendant joined in the agreement, the defendant knew the

purpose of the agreement; and

       Four, while the agreement was in effect, a defendant knowingly did one or more

acts for the purpose of carrying out or carrying forward the agreement.

       C.     Currency Structuring

       Count 7 charges defendant Jerome Kangas with structuring of currency transactions.

The crime of currency transaction structuring has three essential elements:

       One, the defendant knowingly conducted a currency transaction that involved a

domestic financial institution;

       Two, the defendant knew of the financial institution’s obligation to report currency

transactions in excess of $10,000; and

       Three, the purpose of the structured transaction was to evade that reporting

obligation.



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III.   Summary of the Evidence to Be Presented at Trial

       Greg Koch used his role as a supervisor in the CPAP department to assist Jerome

Kangas in getting hired as a respiratory therapist by the Victim Company. In May 2011,

Greg Koch was hired by Victim Company to work as a full-time Respiratory Therapist in

the Meadowbrook store located in St. Louis Park, Minnesota. His position title was CPAP

Clinician. At the time that he was hired by the Victim Company, Koch provided Kangas

as an employment reference; the two had worked together at a previous employer. CPAP

clinicians generally assist patients who have been diagnosed by a physician with sleep

disordered breathing and prescribed a CPAP machine. The CPAP clinicians help patients

obtain a properly-fitting mask and educate them about how to use their CPAP machine.

They also engage in follow-up communications and later troubleshooting of any issues

patients experience with the use of the machine. The Victim Company’s CPAP clinicians

performed their jobs primarily at sleep clinics or retail “sleep stores” in the metro area.

While they do not perform work in patients’ homes, they may work with patients in a

hospital setting.

       In 2012, Koch was promoted to be the CPAP clinic supervisor. The Victim

Company operated retail CPAP sleep stores in St. Louis Park, Maple Grove and Shakopee

at that time. As the supervisor, Koch oversaw the operation and staffing of the sleep stores.

In 2015, Koch’s ascent at the company continued when he was promoted to manager of

retail operations related to CPAP-related durable medical equipment. In this capacity, he

was responsible for the hiring of all sleep store personnel, including CPAP clinicians and

product specialists, as well as oversight of all of the Victim Company’s retail sleep stores.

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       In approximately May 2013, Koch was given authority to hire a “casual” CPAP

clinician. Casual CPAP clinicians generally work on an on-call or part-time basis. Jerome

Kangas was hired as a casual CPAP clinician by the Victim Company in June 2013 to be

supervised by Koch.      Kangas was hired to work on an on-call basis out of the

Meadowbrook CPAP sleep store, which was also Koch’s regular duty station. While

employed as a CPAP Clinician by the Victim Company, Kangas was responsible for

educating patients about the use of their CPAP machines and assisting them with

addressing any problems that arose with the machines. As health care professionals, CPAP

clinicians were expected to chart or record all interactions with patients for future

reference. While Kangas was employed by the Victim Company, clinicians were required

to document their interactions with patients in the Victim Company’s Heath Data

Management System (“HDMS”). HDMS was the database where patient notes and

interactions were recorded. Charting in HDMS permitted other clinicians or employees

who interacted with patients to learn of any issues a patient may have had as well as any

efforts that had been undertaken to address such issues when a patient called a CPAP sleep

store for assistance.     Amongst the clinicians, the general perspective regarding

documenting patient interactions was if they were not recorded, for all intents and purposes,

they did not happen.

       Other electronic databases that CPAP clinicians at the Victim Company accessed to

do their work included AirView and U-Sleep. AirView is a “cloud”-based system that

records data sent directly from a patient’s CPAP machine and is often the first place a

CPAP clinician would check if a patient called due to a problem with their machine. It

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provides information on the patient’s CPAP machine use and any issues that may exist

with the machine. AirView feeds the data it collects from patients’ CPAP machines into a

program called U-Sleep, and U-Sleep uses that data to triage patients. It can tell CPAP

clinicians to contact specific patients based on problems that may be occurring with a

patient’s CPAP machine, such as leakage or low pressure. U-Sleep also has the capability

to notify patients regarding the function of their CPAP machines. Both of these programs

assist CPAP clinicians in assessing and addressing issues experienced by Victim Company

patients.

       During the five years that he was employed by the Victim Company, Kangas was

paid for over 38,000 regular, weekend, holiday, and overtime (including on-call or “pager

pay”) hours. “Pager pay” was compensation CPAP clinicians received for being available

to handle any calls received from Victim Company patients after the normal business day

concluded. It included additional pay if a CPAP clinician actually responded to calls while

in possession of the pager or call phone used to field calls from patients after hours. Like

other patient interaction, responses to patient after-hours calls was expected to be recorded

in HDMS the next time the CPAP clinician reported to work at their sleep store.

       During Kangas’s employment with Victim Company, Koch approved and entered

all of Kangas’s work hours into the Victim Company’s time management system called

Kronos. Ordinarily, CPAP clinicians swiped their employee identification badge at a clock

station upon arrival at their duty station and did the same upon departing for the day.

However, upon commencing an investigation after Kangas’s resignation, the Victim

Company learned that there was no record of Kangas punching into a clock station (or

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swiping his badge) at a Victim Company sleep store location during the five years that he

was employed there. Instead, Koch entered all of Kangas’s hours into Kronos; thus,

Kangas’s pay was calculated based exclusively on Koch’s time entries.

       On June 18, 2018, Koch was terminated by the Victim Company in a routine

reorganization, and the scheme quickly unraveled. Within hours of learning that his

position as Manager of the CPAP healthcare products was being eliminated, Koch signed

and submitted a resignation letter for Kangas to the Victim Company. Koch backdated the

letter to June 15, 2018 so that Kangas’s purported resignation appeared coincidental and

unrelated to Koch’s termination by the company. Upon Koch’s departure, the incoming

manager of the CPAP clinicians was unable to determine who Kangas was and the extent

to which he had actually been working as a casual CPAP clinician for the company. After

additional questions were raised regarding Kangas and his work on the company’s behalf,

the company initiated an investigation. That investigation revealed that despite being paid

more than half a million dollars by the company over five years – more than any other

clinician and comparable to his supervisor Greg Koch – Jerome Kangas had not performed

the work for which he had been hired and all of his time entries had been entered by Koch.

Various business records of the Victim Company, including personnel files, performance

appraisals, work schedules, timecard records, payroll records, email and network access

data will be offered as evidence during trial.

       Other indicia that Kangas did not perform work commensurate with the wages he

was paid include his failure to access HDMS, lack of ability to work remotely and failure

to appear on CPAP clinician schedules. Kangas only logged into HDMS, the Victim

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Company’s electronic database for charting patient data, approximately five times in the

five years that he was employed by the company. By contrast, clinicians typically log into

the system at least once a day. HDMS is the system that CPAP clinicians use daily to log

patient interactions after assisting them with issues arising with their CPAP machines,

which comprised the bulk of their job responsibilities. Further, Kangas was never issued

a laptop by Victim Company, nor was he provided a digital token which would have been

needed to perform his work remotely. Nevertheless, Koch regularly entered time for

Kangas indicating that Kangas worked 8-to-12-hour daytime shifts at a sleep store location

when, in fact, Kangas never did so.

       Not only did Kangas fail to appear on clinician schedules created during the time he

worked for the Victim Company, but other CPAP clinicians also supervised by Koch—and

who worked in the sleep stores where clinicians assisted patients—never met Kangas and

did not know who he was though some recalled seeing his name occasionally on CPAP

clinician group emails. Some of these former employees will testify regarding their work

as CPAP clinicians for the Victim Company and their lack of familiarity with Kangas.

Some of them recall Koch trying to suggest to them that they knew who Jerome Kangas

was when, in fact, they did not.

       Koch extended and concealed the scheme by logging into the Victim Company’s

network using Kangas’s login credentials on various occasions and completing

documentation commending Kangas for his work with patients to make it appear that

Kangas was performing the work for which he was paid. Although the Victim Company’s

network shows numerous logins using Kangas’s login credentials in 2016, 2017 and 2018,

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one of the computers on which many of those logins occurred was assigned to Koch and

located at the Meadowbrook sleep store. In addition, some of the login activity appears to

show Koch logging off of a computer using his own credentials then logging back into the

computer using Kangas’s credentials to make it appear that Kangas was active on the

network. In one such instance, the login credentials of Koch and Kangas are used to access

Victim Company’s network from the same workstation within a minute of each other. Not

surprisingly, Kangas’s username and password for the Victim Company’s network were

found in Koch’s emails. A review of Kangas’s emails revealed hundreds of unopened

emails and a conspicuous absence of any substantive emails about the work he purportedly

performed for the Victim Company. In his efforts to conceal and extend the fraud scheme,

Koch also completed annual performance reviews of Kangas rating him a satisfactory

employee and commending his work with patients when no such work was documented in

the Victim Company’s records by Kangas, a licensed respiratory therapist who was well

aware of the importance of charting patient interactions for future reference and treatment

purposes.

       The defendant’s efforts to conceal the scheme also included ensuring that Kangas’s

password remained active in the Victim Company’s system. To that end, on at least three

occasions in 2017 and 2018, Kangas called the Victim Company’s Support Center to have

his password reset claiming to have forgotten it. On one of these recordings, Koch can be

heard appearing to suggest an excuse that Kangas should offer for why his password

needed to be reset. These recordings will be offered into evidence at trial.



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       Prior to Kangas being hired, on-call pay rotated among the clinicians in Koch’s

group. However, shortly after Koch hired Kangas, Koch began allocating all of the call

pay hours to Kangas from 2014 through his resignation in 2018. The combination of call

pay hours and regular hours paid to Kangas based on Koch’s time entries on his behalf

made Kangas the highest paid CPAP clinician in Koch’s group for all but the first year he

was employed by Victim Company despite his status as a casual clinician. Kangas was

paid by Victim Company close to $100,000 per year save for the partial year 2013.

       Prior to and during his employment with Victim Company, Kangas was employed

full-time   as   a   respiratory   therapist   for   another   employer,   Select   Medical

Corporation/Regency Hospital. His work at Regency required his presence on premises

working with patients during daytime business hours. Kangas was required to clock in and

out at Regency daily even for lunch breaks. He was not permitted to perform work for

other entities while on the clock at Regency. During the five years he was employed by

Victim Company, Koch entered daytime work hours for Kangas at Victim Company on

over 500 days while Kangas was actually on the clock at Regency Hospital. These dates

include the dates set forth in Counts 1 through 5, the mail fraud counts in the Superseding

Indictment. Kangas was also employed part-time as a respiratory therapist for Corner

Home Medical while employed at Regency and Victim Company.

       Kangas’s income from Victim Company essentially doubled his earnings from his

two other jobs. Kangas routinely converted a significant percentage of this income into

cash during the scheme. From his hiring at Victim Company in June 2013 until the end of

his employment five years later, Kangas withdrew more than $225,000 in cash and cashed

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checks in hundreds of transactions, an average of almost eight withdrawals per month.

While he also made some cash deposits, during the scheme the net cash out averaged more

than $30,000 annually. Kangas’s habit of dealing in significant amounts of cash facilitated

two things: frequent gambling and the ability to share proceeds of the scheme with Koch.

       Kangas’s financial records also reveal frequent transactions at casinos and gaming

enterprises, as well as online gambling. The evidence will show that he withdrew

significant amounts of cash at Running Aces casino in Minnesota and casinos in Las Vegas,

and he also engaged in thousands of dollars in internet gambling. Kangas’s gambling rose

to a level where it caused him to declare losses of almost $45,000 from 2017 to 2018.

       Greg Koch’s bank records reveal multiple instances where he deposited cash in

close proximity to Kangas withdrawing sums from his own account. For example, early

on in the scheme in August and September 2013, Kangas withdrew a total of almost $1,300;

one day later, Koch deposited $350. A larger exchange occurred approximately a year

later. Between July 29, 2014 and August 4, 2014, Kangas withdrew $6,602.50 in four

transactions. The day after the last such withdrawal, Koch deposited exactly half of that

amount1 into his account: $3,300.

       Aside from these transactions early on in the scheme, bank records suggest that the

defendants mostly took care not to create records of their financial coordination. This is

not inconsistent with the ongoing fraud, because cash by its nature makes tracing funds

difficult. There was, however, one significant exception in August 2017.



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 Setting aside the $2.50 transaction fee from the ATM withdrawal at a convenience store
on July 29, 2014, the amount to be divided was $6,600 and Koch deposited $3,300.
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       On August 14, 2017, less than a year before the scheme ended with both men’s

departure from Victim Company, Koch deposited $29,300 in cash into his US Bank

account and purchased a cashier’s check for $26,000, which he sent to TD Ameritrade

online brokerage to engage in day trading. Koch’s financial records provide no explanation

for the infusion of $29,300. His tax returns and bank records reflect no moonlighting or

independent work – or other activity that might generate significant cash. Nor do they

reflect significant gambling like Kangas’s do. The $29,300 was more than four times the

total of all cash deposits into Koch’s account over the preceding four years.

       Kangas’s activity, on the other hand, does provide an explanation. In less than two

weeks between July 28, 2017 and August 10, 2017, Kangas withdrew $30,500 from Wells

Fargo Bank. The cash was divided into three separate cash withdrawals of $5,000, one

$5,500 cash withdrawal, and the receipt of $5,000 cash back from two different deposits.

Kangas went to five different Wells Fargo branches to obtain this cash, including one in

Woodbury distant from both his home and work locations. On August 1, 2017, Kangas

even went to two different branches on the same day to obtain $5,000 in cash each time.

The last withdrawal was on August 10, 2017. Four days later, on August 14, 2017, Koch

deposited the $29,300 in cash at US Bank.

       On June 21, 2019, defendant Jerome Kangas spoke briefly with Special Agent Kurt

Beulke while Kangas was sitting in his car outside Regency Hospital. During that

interaction, Kangas described the nature of his work at Victim Company as on call only.

He indicated that Koch would forward a list of patients for him (Kangas) to call, which he

did. He recalled receiving 4 hours of pay for each call plus $4 per hour for being on call

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while he worked for Victim Company. He also acknowledged being the highest paid

clinician in the group, making nearly $100,000 a year, despite working only part-time.

Finally, he admitted having Koch sign his resignation letter for him, though he claimed not

to recall that he resigned on the same day that Koch was terminated by Victim Company.

The government anticipates offering Kangas’s statement at trial.

IV.    Potential Legal and Evidentiary Issues

       A.      Admission of Certified Business Records

       The government intends to offer employment and other business records collected

during the Victim Company’s investigation; employment records from Corner Home

Medical and Regency Hospital/Select Medical Corporation; bank records from Wells

Fargo Bank and US Bank; and investment account records from TD Ameritrade as certified

business records under F.R.E. 902(11). Those records are maintained in the normal course

of business and were provided in response to grand jury or trial subpoenas. Each record

was either provided by a custodian of records with a declaration pursuant to Federal Rules

of Evidence Rule 902(11) or a declaration is in the process of being obtained.

       The underlying documents are business records that fall under the hearsay exception

set forth in Federal Rule of Evidence 803(6). Federal Rule of Evidence 902(11) provides

that certified domestic business records of regularly conducted activities are self-

authenticating and therefore admissible under Federal Rule of Evidence 803(6) if

accompanied by a written declaration from a records custodian or other qualified person

certifying that the records:



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       a.     were made at or near the time of the occurrence of the matters set forth by,

or from information transmitted by, a person with knowledge of those matters;

       b.     were kept in the course of a regularly conducted activity; and

       c.     were made by the regularly conducted activity as a regular practice.

       The Advisory Committee Notes to the 2000 Amendments make it clear that a

declaration that satisfies 28 U.S.C. § 1746 would satisfy the declaration requirements of

Federal Rule of Evidence 902(11). The United States has provided defendants copies of

the underlying certified business records will make any requested certifications available

on request.

       The United States submits that the certified business records satisfy the

requirements of Rule 803(6) and Rule 902(11), and respectfully requests that the Court

make a pretrial ruling on the admissibility of these records. As such, there is no need for

in-court testimony of records custodians. See United States v. Watson, 650 F.3d 1084, 1090

n.3 (8th Cir. 2011) (holding that there is no Confrontation Clause violation by admitting

Rule 902 records without calling the custodian or other person qualified to certify the

record). Such a ruling would allow the United States to avoid the need to subpoena and

call records custodians to testify about the maintenance of these records and would

significantly streamline the trial. Defense counsel would, of course, retain their right to

make objections to specific documents based on hearsay, relevance, etc.

       B.     Stipulations and Self-Authentication Pursuant to Federal Rule of
              Evidence 902

       The government has proposed factual and foundational stipulations to streamline

the trial and obviate the need to call witnesses on discrete issues clearly established by
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other evidence. Defendants’ counsel has informed the government that they will sign a

foundational stipulation governing business records and self-authenticating documents.

The government will request to put this stipulation on the record at the pretrial conference.

                1.     Stipulations of Fact

         The parties have agreed to enter into two stipulations of fact. The parties have

discussed a stipulation of fact that the materials described as having been mailed as set

forth in Counts 1 through 5 of the Superseding Indictment were in fact mailed pursuant to

a regular business custom and practice. The second is a stipulation of fact that Wells Fargo

Bank is a financial institution for purposes of the statutes applicable in this case. In light

of these two stipulations, the government intends not to call a witness from Wells Fargo or

the mailing department of the Victim Company to provide testimony to establish these

facts.    The government respectfully requests that the defendants’ agreement to the

stipulations be confirmed at the pretrial conference to ensure that additional witnesses do

not need to be added to the witness list and arrangements made to procure their appearance

for trial.

                2.     Foundation Stipulations

         The parties have agreed to foundational stipulations with respect to business records

that will obviate the need to call custodians of records as witnesses at trial. The government

will request to put this stipulation on the record at the pretrial conference.




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       C.     The Government’s Use of Defendant Kangas’s Statement Is Not
              Hearsay

       The government intends to introduce Jerome Kangas’s statement regarding his

employment at Victim Company to Special Agent Beulke. This statement is an admission

by a party opponent. However, Kangas may not elicit evidence of his own prior statement.

       An out-of-court statement made by an opposing party categorically is not hearsay.

Fed. R. Evid. 801(d)(2). Moreover, statements are not hearsay when introduced not for the

truth of the matter asserted, but instead to show the effect on a listener’s conduct or to

establish knowledge on the part of the listener. Fed. R. Evid. 801(c)(2) (prohibiting hearsay

when offered to prove the truth of the matter asserted); United States v. Roberts, 676 F.2d

1185, 1187-88 (8th Cir. 1982). But a defendant cannot elicit evidence of their own

statements or those of their agents. Fed. R. Evid. 801(d)(2); United States v. Hughes, 535

F.3d 880, 882 (8th Cir. 2008) (rejecting defendant’s self-serving out-of-court statements as

inadmissible either as statements against interest or under residual hearsay exception).

Defendant Kangas’s statement to Special Agent Beulke is admissible if offered into

evidence by the government but remains hearsay if offered directly by the defendants.

       D.     Motion to Preclude Evidence of or Reference to Pretrial
              Discovery Issue

       During the motions practice phase of this case, the defendants moved pursuant to

Rule 16 for an order that required the government to request certain categories of

information from the Victim Company. (ECF No. 75). The basis for the motion was the

claim that the records of the Victim Company were within the government’s “possession,

custody, and control” based on the Victim Company having cooperated with the

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government’s investigation. The Magistrate Judge issued the order, and this Court rejected

the government’s objections to the order. (ECF No. 82). The government complied with

the order, asking the Victim to respond to the requests. As the government subsequently

informed the defense, the Victim Company responded that it possessed no additional

records within the scope of the requests as ordered by the Court.

       The government anticipates that the defendants may attempt to defend this case on

the same basis: that the Victim Company is cooperating with the prosecution. However,

such allegations are irrelevant to the defendants’ guilt and would only serve to confuse the

jury, complicate this matter, and waste time. Such inquiries and argument should therefore

be precluded from the trial of this case. See Fed. R. Evid. 401, 403 (to admissible, evidence

must bear on the resolution of an issue material to determining the action). Here, whether

the defendants should be convicted depends on the elements of the several counts against

them: that is, whether they engaged in a scheme to defraud; whether they intended to

defraud the Victim Company; whether the reached an agreement to conduct the scheme;

and so on. Whether or not the victim of the scheme cooperated with the government’s

requests, or indeed, whether the victim declined to do so, does not satisfy any element or

aid in answering any issue in the case. Indeed, it could be argued that the victim’s

cooperation tends to prove the defendant’s guilt, at least as much as it suggests the opposite.

Since the extent of the Victim Company’s cooperation – or lack thereof – with the

investigation does not aid in the actual determination of a material issue, it is irrelevant and

should not be offered or discussed before the jury.



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       Permitting questions of witnesses about the extent of the victim’s cooperation with

the government, or even unsubstantiated argument or innuendo about the matter, would

merely serve to confuse the jury and prolong the proceeding. Allowing the defense to cross

examine witnesses about whether the Victim Company cooperated with the government’s

investigation or even generally supported the prospect of convictions is unrelated to the

defendants’ actual guilt of the crimes alleged in the indictment. Where inquiries do not

relate to the elements of the offenses, they are improper. See United States v. Robbins, 197

F.3d 829, 845 (7th Cir. 1999) (affirming trial judge’s refusal to have the “trial become a

trial of the investigation.”). The conduct of the investigation is a “tangential issue that

could confuse the jury.” See United States v. Estell, 2016 WL 909185 (7th Cir. 2016).

       Extending this trial to allow cross-examination on such an irrelevant subject would

neither efficiently try the case nor advance the interests of justice in this matter. For while

the defendants are entitled to a defense, the victim is not required to defend its own conduct

in seeking justice for the crimes against it. All such questions and arguments are therefore

irrelevant and under Rules 401 and 403 should be precluded in this case.

       E.     Summary Testimony and Charts

       The government intends to call law enforcement agents to testify as summary

witnesses in its case-in-chief. “The testimony of a summary witness may be received so

long as she bases her summary on evidence received in the case and is available for cross-

examination.” United States v. Ellefsen, 655 F.3d 769, 780 (8th Cir. 2011) (quoting United

States v. King, 616 F.2d 1034, 1041 (8th Cir. 1980) (permitting IRS Revenue Agent to



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testify as summary witness that management fees at issue in tax evasion case constituted

constructive dividends)).

       In addition, because this case involves voluminous documentary evidence,

including bank records, corporate records, payroll records, and other financial documents,

the government intends to offer summary charts into evidence to assist the jury. Summary

charts are properly admitted when (1) the charts fairly summarize voluminous trial

evidence, (2) they assist the jury in understanding testimony already introduced, and (3)

the witness who prepared the charts is subject to cross-examination with all documents

used to prepare the summaries. United States v. Spires, 628 F.3d 1049, 1052-53 (8th Cir.

2011) (citing Fed. R. Evid. 1006); see also United States v. Boesen, 541 F.3d 838, 848 (8th

Cir. 2008) (holding charts summarizing clinic’s revenue stream were properly admitted

into evidence in health care fraud trial). “Also, summaries may include assumptions and

conclusions so long as they are ‘based upon evidence in the record.’” Spires, 628 F.3d at

1053 (citation omitted).

       F.     Motion for an Order to Sequester Potential Witnesses

       The government has moved to sequester potential witnesses except for the

government’s case agents, Special Agent Kurt Beulke and Forensic Accountant Eric

Robertson. Federal Rule of Evidence 615 allows the exclusion of witnesses at the “request

of a party.” This rule does not authorize exclusion of (1) a party who is a natural person,

(2) an officer or employee of a party which is not a natural person designated as its

representative by its attorney, (3) a person whose presence is shown by a party to be

essential to the presentation of the party’s cause, or (4) a person authorized by statute to be

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present. Government agents and fall within the exceptions to this rule. United States v.

Sykes, 977 F.2d 1242, 1245 (8th Cir. 1992).

Dated: September 8, 2022                       Respectfully submitted,

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